






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00002-CV






Jennifer Helm, Appellant


v.


Daveta Haffner, Appellee






FROM THE DISTRICT COURT OF COMAL COUNTY, 274TH JUDICIAL DISTRICT

NO. C2006-0605C, HONORABLE DIB WALDRIP, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		The record in this cause is overdue because appellant has not filed the documentation
necessary to show herself entitled to a free record, paid, or made arrangements to pay for the record.

		The trial court clerk becomes responsible for filing the record only if a notice of
appeal has been filed and "the party responsible for paying for the preparation of the clerk's record
has paid the clerk's fee, has made satisfactory arrangements with the clerk to pay the fee, or is
entitled to appeal without paying the fee."  Tex. R. App. P. 35.3.

		According to the docketing statement, the judgment was signed October 6, 2007. (1)
Appellant Jennifer Helm filed a motion for rehearing on November 2, 2007.  The extended appellate
timetables are thus applicable.  See Tex. R. App. P. 26.1(a)(1), 35.1(a).  Accordingly, the record was
due to be filed on February 4, 2008.  The record has not been filed.

		In a letter dated February 1, 2008, the trial court's clerk reported to this Court's clerk
that appellant had not designated the record on appeal.  The clerk also requested that this Court
extend the deadline for filing the clerk's record until March 5, 2008.  In a separate letter dated
February 1, 2008, the court reporter stated that, because Helm had not made a downpayment on
the&nbsp;reporter's record, the reporter had not begun to prepare the record.  In a letter dated
February&nbsp;25,&nbsp;2008, and addressed to Helm's attorney, this Court wrote:

	

	Notice was received from the district clerk's office of Comal County, Texas, on
February 22, 2008, that appellant has neither paid, nor made arrangements for
payment, for the clerk's record.  Accordingly, the clerk's record will not be timely
filed.

	

	Appellant's attorney is requested to submit a status report regarding this appeal. 
A&nbsp;response regarding this matter is requested by this Court by March 06, 2008. 
Failure to do so will result in the dismissal of this appeal for want of prosecution. 
See Tex. R. App. P. 37.3(b).

	

Appellant has not responded to this request.  On March 19, 2008, the trial court clerk confirmed that
appellant still had not made arrangements to pay for the record.

		This appeal is dismissed for want of prosecution.


						                                                                                    

						G. Alan Waldrop, Justice

Before Chief Justice Law, Justices Pemberton and Waldrop

Dismissed for Want of Prosecution

Filed:   April 24, 2008
1.   The notice of appeal states that judgment was "granted" on October 5, 2007, which is the
date listed as the Date of Judgment in the District Clerk's Notice of Appeal Information Sheet.  For
purposes of this opinion we will use the October 6, 2007 date listed in the docketing statement as
the date the judgment was signed.


